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                                        January 24, 2022

BY ECF
Hon. Colleen McMahon
Hon. Lewis A. Kaplan
United States District Court - Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

        Re:     In Re: New York City Policing During Summer 2020 Demonstrations,
                20 Civ. 8924 (CM)(GWG) – This filing relates to all cases

                Britvec, et al. v. City of New York, et al., 21-cv-10759 (LAK)(KNF)

                Casablanca-Torres v. City of New York, et al., 21-cv-10832 (LAK)(JLC)

Your Honors:

         I am co-counsel for the Plaintiffs in the Sow, et al. v. City of New York, et al., 21 Civ.
533 (CM)(GWG); Hernandez, et al. v. City of New York, et al., 21 Civ. 7406 (CM)(GWG); and
Minett v. City of New York, et al., 21 Civ. 8161 (CM)(GWG), cases that are consolidated for
pre-trial purposes, along with several other cases, before Judge McMahon and Hon. Gabriel
W. Gorenstein under the In Re: New York City Policing During Summer 2020 Demonstrations
docket, 20 Civ. 8924 (the “Consolidated Actions”). I am also co-counsel for the Plaintiffs in
six cases that were originally filed in the Supreme Court of the State of New York, in New
York County on behalf of a number of individual Plaintiffs who, for various reasons, would
opt out of any class this Court might one day certify related to the Consolidated Actions and
decided to file their own lawsuits in the Stat e of New York (collectively, the “Removed
Actions”)1, which Defendant City and several other individual Defendants in the Removed
Actions who are named as Defendants in the Consolidated Actions removed to this Court in
late December 2021. The Removed Actions include the Britvec and Casablanca cases that are
the subject of this letter, which, as seen below, Judge Kaplan directed Plaintiffs’ counsel to
write following the recent initial pretrial conferences in those matters. Since this letter is
written in response to Judge Kaplan’s order in the Britvec and Casablanca matters, it only
addresses the potential relationships among Britvec/Casablanca and the Consolidated Actions.


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  In addition to the Casablanca and Britvec matters, those cases are: Sharma v. City of New York,
21 Civ. 10892 (ER) (BCM); DeLuca v. City of New York, 21 Civ. 10777 (AJN) (KHP); Sukana
v. City of New York, 21 Civ. 10899 (LJL) (BCM); and Rodriguez v. City of New York, 21 Civ.
10815 (PKC) (DCF).

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Relevant Factual Background on the Consolidated Actions and the Removed Actions

         The six Britvec and Casablanca Plaintiffs were injured and arrested on June 3, 2020 by
New York City Police Department (“NYPD”) members while attending the same Black
Lives Matter demonstration near Gracie Mansion in Manhattan. Both Complaints name a
number of high-level New York City and NYPD officials, who are also named as
Defendants in the Consolidated Actions. In both the Britvec and Casablanca cases, one
Defendant – NYPD Officer Ryan Costello – was assigned to process the arrests of the
named Plaintiffs, and he is a main “line officer” in common in both cases, who processed
their arrests and eventually swore out charges against them. Beyond that, the events at the
Britvec/Casablanca protest location, and the experiences of various parties and witnesses in the
Consolidated Actions against whom NYPD members used force and who were arrested by
NYPD members at that location, feature prominently in several of the flagship pleadings in
the Consolidated Actions. See, e.g., Sow FAC, ¶¶ 84-85, 284-309; FAC in People of the State of
New York v. City of NY, et al., Dkt. 94, ¶¶ 57, 237-246, 347-354; FAC in Wood, et al. v. City of
NY, et al., Dkt. 100, ¶¶ 60-64.

         With the exception of the allegations specific to the experiences of the Britvec and
Casablanca Plaintiffs and the conduct of the individual Defendants in those cases who
interacted with them, see, e.g., Britvec Complaint ¶¶ 49-97 and Casablanca Complaint ¶¶ 2; 55-
137, the allegations in the Britvec and Casablanca Complaints are virtually the same as the
allegations in the Sow FAC. Although the experiences of the Britvec and Casablanca Plaintiffs
are, obviously, unique to them, they arose in the context of a mass arrest that is the subject
of litigation in the Consolidated Actions. Specifically, the protest date, time, and location at
which the Britvec and Casablanca Plaintiffs were arrested is listed as Protest No. 43 in the
“Schedule A” list of protest locations about which Plaintiffs’ counsel in the Consolidated
Actions have sought, and Defendants have eventually provided (or promised to provide),
extensive document discovery – often after significant litigation and, ultimately, rulings from
Judge Gorenstein – and about which the parties in the Consolidated Actions have
conducted, and in some cases are still conducting, relevant depositions.

        Additionally, both the Britvec and Casablanca Complaints plead Monell claims identical
to those in Sow – and those claims are supported by the exact same allegations pleaded in
Sow. Compare, e.g., Sow FAC ¶¶ 421-509 with Britvec Complaint ¶¶ 98-204 and Casablanca
Complaint ¶¶ 146-231. In support of those Monell claims, both Britvec and Casablanca also
purport to incorporate by reference the allegations in the operative pleadings in the
Consolidated Actions. In the Consolidated Actions, Defendant City and a number of other
individual Defendants who are also named in the Removed Actions moved to dismiss the
majority of the Monell claims pleaded in the Sow Complaint, which the Britvec and Casablanca
Complaints plead in the same words. See 2021 US Dist LEXIS 128437 (SDNY July 9, 2021)
(the “MTD Decision”). Following the MTD Decision, in the Consolidated Actions,
Defendants have eventually provided (or promised to provide) extensive document
discovery related to the Monell claims pleaded in Sow and the other Consolidated Actions –
often after significant litigation and, ultimately, rulings from Judge Gorenstein. Beyond that,
in the Consolidated Actions, dozens of high-level NYPD depositions, including fact
witnesses and witnesses who will testify pursuant to Fed.R.Civ.P. 30(b)(6), are slated to begin
in the coming weeks as to the Monell claims in the Consolidated Actions.



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Relevant Procedural History of Britvec and Casablanca

        Within a few days of Defendants’ removing the Removed Actions in late December,
on December 28, 2021, Plaintiffs’ counsel in Britvec and Casablanca wrote the various lead
counsel for Defendants in the Consolidated Actions, as well as all defense counsel who had
appeared in the Removed Actions, to inform them of Plaintiffs’ position that the Removed
Actions were at least potentially related within the meaning of Local Civil Rule 1.6 (“Rule
1.6”) and Rule 13 of the Rules for the Division of Business Among District Judges (“Rule
13”) to the Consolidated Actions. We also informed defense counsel of our position that
Local Civil Rule 1.6(a) and Rule 13(b)(1) obligated Defendants to inform the Court of the
potential relatedness among the Removed Actions, including Britvec and Casablanca, and the
Consolidated Actions, when Defendants filed for removal of the Removed Actions, to
enable the Court to make a determination about the potential relatedness issues as soon as
possible. On January 4, 2022, counsel for Defendant City responded:

        By sending your emails on several removed cases asking if this office will be
        marking those cases as potentially related, you acknowledge that you are
        aware of what you believe is a potential relationship, so defendants assert that
        it is your duty under the rule to bring it to the attention of the court. We do
        not agree that the cases are related. It is our contention that each individual
        case is just that; individual. Just because they all arose out of protests does
        not make them related, in our view. Defendants do not agree that the cases
        are even potentially related, so we will not be notifying the court of any
        relatedness.

Plaintiffs’ counsel then reached out to and conferred with the four individual Assistant
Corporation Counsels assigned to Britvec and Casablanca, who confirmed that was the Law
Department’s position in these cases. Notably, in meeting and conferring with opposing
counsel for the Rule 26(f) conferences in Britvec and Casablanca, it did not appear counsel had
either access to or familiarity with the discovery that has been exchanged, or other aspects of
the litigation that has taken place, in the Consolidated Actions. Rather, it appeared counsel in
Britvec and Casablanca were essentially starting from scratch in their investigations into the
allegations and claims involved in the pleadings and access to discovery their clients have
already produced in the Consolidated Actions. For example, although Judge Gorenstein has
issued unsealing orders covering myriad records related to the summer 2020 protests,
defense counsel in Britvec and Casablanca have required releases to (re-)unseal (just the) Britvec
and Casablanca Plaintiffs’ records and claimed the need for those releases to begin
investigation and responding to the allegations in the pleadings.

         On December 20 and 21, 2021, Judge Kaplan scheduled initial pretrial conferences
in Britvec and Casablanca for January 20, 2022. On January 20, 2022, Judge Kaplan presided
over a joint initial pretrial conference in both the Britvec and Casablanca matters. Near the
outset of the conference, I said in substance that I believed the two cases were certainly
related to each other, and that they were also at least potentially related to the Consolidated
Actions. Judge Kaplan subsequently directed that Plaintiffs’ counsel file a letter by today
addressed to both of Your Honors setting out the Britvec and Casablanca Plaintiffs’ positions
as to relatedness, to be followed by a similar letter from defense counsel in those cases. See
Britvec Dkt., January 20, 2022 Minute Order.

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Britvec and Casablanca are related to each other and Potentially Related to the
Consolidated Actions

         Britvec and Casablanca are related to each other and at least potentially related to the
Consolidated Actions within the meaning of Local Civil Rule 1.6(a) and Rule 13(a)(1).
Plaintiffs respectfully submit that the relationship between Britvec and Casablanca is clear. As
to Britvec/Casablanca and the Consolidated Actions, each of the factors in Rule 13(a)(1)
weighs in favor of recognizing the potential relationship, and the Courts’ sorting out how the
potential relationship merits treating the cases moving forward. The remainder of Plaintiffs’
comments in this section relate to the potential relationship between Britvec/Casablanca and
the Consolidated Actions.

         The first two factors to be considered under Rule 13(a)(1) are whether “(A) The
actions concern the same or substantially similar parties, property, transactions, or events”
and “(B) there is substantial factual overlap.” See Rule 13(a)(1)(A) and (B). Britvec, Casablanca,
and the Consolidated Actions all share the same high-level New York City and NYPD
Defendants, against whom discovery is proceeding in the Consolidated Actions. The
Complaints in Britvec, Casablanca, and a number of the flagship Consolidated Actions plead
allegations regarding the same events: a June 3, 2020 mass kettle involving excessive force
and mass arrests in which Plaintiffs from both Britvec and Casablanca as well as Plaintiffs and
witnesses in the Consolidated Actions were brutalized and arrested at the same date, time,
and location, then subjected to lengthy mass arrest processing, ultimately ending in their
release with false charges – in the case of Mr. Britvec and Mr. Casablanca, sworn out by the
same NYPD member. And both the Britvec and Casablanca actions plead Monell claims that
are identical to those pleaded in Sow. There is therefore substantial factual overlap, both
because the Britvec and Casablanca Plaintiffs, and Plaintiffs and witnesses in the Consolidated
Actions, experienced similar NYPD misconduct at the same date, time, and location, which
has been and is the subject of discovery in the Consolidated Actions, and because, as seen
above, the Britvec and Casablanca Plaintiffs’ Monell claims are identical to those that also have
been and are the subject of substantial and ongoing discovery in the Consolidated actions.

         The third and fourth factors to be considered under Rule 13(a)(1) are whether “(C)
the parties could be subject to conflicting orders” and “(D) there would be a substantial
duplication of efforts and expense, delay, or undue burden on the Court, parties, or
witnesses” absent a determination as to potential relatedness. See Rule 13(a)(1)(C) and (D).
There is real – and, indeed, imminent – danger that the parties will be subject to conflicting
orders, duplication of efforts, expense, delay, and burden if the Removed Actions are
litigated as if they have no relationship to the litigation in the Consolidated Actions. For
example, defense counsel in Casablanca has stated that Defendants may move for a stay on
the grounds that there are pending NYPD Internal Affairs Bureau (“IAB”) and/or New
York City Civilian Complaint Review Board (“CCRB”) investigations. However, in the
Consolidated Actions, Judge McMahon in substance informed defense counsel that the
Court would not issue such a stay, and Defendants ultimately did not move for one. And
later, when defense counsel resisted producing records regarding ongoing CCRB and IAB
investigations – including records that would cover the arrest location at issue in Britvec and
Casablanca - in the Consolidated Actions, Judge Gorenstein ordered Defendants to produce
the contested CCRB and IAB records, including in open cases. Moreover, defense counsel in

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Casablanca has said the Casablanca Defendants may make a motion to dismiss related to the
Monell claims – the very claims Judge McMahon ruled on in the MTD Decision. Beyond that,
in the Consolidated Actions, the parties have litigated, and/or Judge Gorenstein has entered
into orders related to, clawing back discovery, unsealing records in the possession of the
NYPD, other governmental agencies, and local prosecutors’ offices, and various
confidentiality orders, as well as a weft of discovery disputes. Relatedly, the hotly contested
discovery in the Consolidated Actions, ably supervised by Judge Gorenstein, has resulted in
the production of records, including, but not limited to, arrest and arrest processing records,
body-worn camera and other NYPD video, records regarding CCRB and IAB investigations,
and extensive Monell discovery, to name a few categories of discovery, all of which, it seems
to Plaintiffs’ counsel, should be readily in play in Britvec and Casablanca. Even past that, there
are “line officer” and supervisor fact witness depositions that have taken place, as well as
higher-level, including Monell-related, depositions scheduled to take place, in the
Consolidated Actions, that are relevant to the Britvec and Casablanca Plaintiffs’ claims.
However, as noted above, defense counsel in the Britvec and Casablanca cases appear to be in
sum starting from scratch in terms of their access to information and documents from their
clients related to Plaintiffs’ core claims in the Britvec and Casablanca matters, and have not
appeared familiar with what has and has not been gathered/disclosed in the Consolidated
Action. Under these circumstances, Plaintiffs’ counsel respectfully submits that several sets
of attorneys litigating the same claims based on the same facts before several different
United States District Judges and United States Magistrate Judges is likely to lead to
substantial duplication of efforts and expense, delay, and burden, if not conflicting orders,
unless there is a high level of coordination and supervision.

         If the Court determines that the Britvec/Casablanca cases are sufficiently related to the
Consolidated Actions such that they should be transferred to Judge McMahon and Judge
Gorenstein, we ask that the Court not stay Britvec/Casablanca, as we understand the Court has
done with some other cases that the Court has accepted as related. At a minimum, Plaintiffs’
counsel believe there is discovery related to the Britvec/Casablanca Plaintiffs’ individual
experiences and core claims specifically related to those experiences that the parties could,
and should, conduct. Some of that discovery – such as obtaining records and information
sufficient to identify the John and Jane Does named in the operative pleadings – Plaintiffs
would strongly prefer to conduct sooner rather than later, if possible, with the benefit of the
litigation and discovery that has taken place in the Consolidated Actions. Notably, counsel
for the parties in a number of cases that the Court accepted as related to, and which were
consolidated into, the Consolidated Actions, have negotiated agreements, which Judge
Gorenstein has endorsed, under which the parties are pursuing certain discovery on the same
schedule as the fact discovery in the Consolidated Actions, with the exception that other
discovery specifically related to the individual experiences of the Plaintiffs in those cases
shall close three months after the close of fact discovery in the Consolidated Actions. See
Gray, et al. v. City of New York, et al., 21-cv-6610 (CM)(GWG), Dkt. 28; Hernandez, et al. v. City
of New York, et al., 21-cv-7406 (CM)(GWG), Dkt. 28; Minett v. City of New York, et al., 21-cv-
8161 (CM)(GWG), Dkt. 21.

        However the Court rules on the relatedness issue, given the direct overlap between
the pleadings, claims, and discovery, Plaintiffs’ counsel have been, and continue to be,
baffled that the Law Department has refused to treat the cases as at least potentially related,
including by ensuring that the investigations and discovery that have occurred related to the

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Consolidated Actions are available to the attorneys litigating the Removed Actions. Because
the Removed Actions were, at face value, at least potentially related to the Consolidated
Actions, Rule 13(b)(1) required that, when the case was “removed…the person [or
people]…removing” – in this case, the removing Defendants - were required to disclose “on
form JSC44C” – the Civil Cover Sheet – “any contention of relatedness” and “file a Related
Case Statement stating clearly and succinctly the basis for the contention.” See Rule 13(b)(1).
Although both parties have obligations under Rule 1.6(a) and Rule 13 to inform the Court of
potentially related cases, in this matter, it was Defendant City (and other individual
Defendants represented by the Law Department) who removed the Removed Actions to
this Court, then refused to treat the Removed Actions as even potentially related. We
believe, and respectfully submit that, relief under Local Civil Rule 1.6(b) is appropriate on
these facts.

        Plaintiffs and Plaintiffs’ counsel thank the Court for the Court’s attention to these
matters.

                                                Respectfully submitted,

                                                        /S/

                                                Gideon Orion Oliver

cc:     Opposing counsel of record (by ECF)




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